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                                 United States District Court
                                Southern District of New York
Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

____________________________/


        DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF
  PLAINTIFF’S MOTION FOR PROTECTIVE ORDER AND MOTION FOR THE
 COURT TO DIRECT DEFENDANT TO DISCLOSE ALL INDIVIDUALS TO WHOM
     DEFENDANT HAS DISSEMINATED CONFIDENTIAL INFORMATION

         I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

       2.      I respectfully submit this Declaration in Support of Plaintiff’s Motion for

Protective Order and Motion for The Court to Direct Defendant To Disclose All Individuals To

Whom Defendant Has Disseminated Confidential Information.

       3.      Attached hereto as Sealed Exhibit 1 is a true and correct copy of May 18, 2016,

Correspondence from Jeff Pagliuca to Meredith Schultz.

       4.      Attached hereto as Sealed Exhibit 2 is a true and correct copy of May 20, 2016,

Correspondence from Meredith Schultz to Jeff Pagliuca.

         5.    Attached hereto as Exhibit 3 is a true and correct copy of July 29, 2016,

 Correspondence from Ty Gee to Meredith Schultz.


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          I declare under penalty of perjury that the foregoing is true and correct.



                                                _/s/ Sigrid S. McCawley________
                                                Sigrid S. McCawley, Esq.


Dated: August 8, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: ___/s/ Sigrid S. McCawley____________
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                                                Meredith Schultz (Pro Hac Vice)
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1
 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8th day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

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                                                      /s/ Sigrid S. McCawley
                                                     Sigrid S. McCawley




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